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15
                               UNITED STATES DISTRICT COURT
16
                                         DISTRICT OF NEVADA
17
       T1 PAYMENTS LLC, a Nevada limited liability      Case No.: 2:19-cv-01816-ART-DJA
18     company,
                      Plaintiff,
19
       vs.                                              THE T1 PARTIES AND NEW U LIFE
20                                                      CORP.’S JOINT STIPULATION TO
       NEW U LIFE CORPORATION, a California             STRIKE ECF NO. 242 AND
21     corporation,                                     WITHDRAW ECF NO. 244
22                          Defendant.
23     NEW U LIFE CORPORATION, a California
       corporation,
24                     Counterclaimant,
25     vs.
26     T1 PAYMENTS LLC, et al.,
27                          Counterclaim-Defendants.
28
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 1            T1 Payments LLC, T1 Payments Ltd., TGlobal Services Ltd., Donald Kasdon, Amber

 2    Fairchild, Debra King, and TGlobal Services LLC (“T1 Parties”) and New U Life Corp. hereby

 3    submit this joint stipulation to request that the Court: (a) strike, and remove entirely from the docket,

 4    New U Life’s original reply brief in support of its motion for receiver and/or preliminary injunction

 5    filed as ECF No. 242 (but not any of the attachments filed as ECF No. 242-1 through 242-8); (b)

 6    treat New U Life’s corrected reply brief filed at ECF No. 245-2 as the operative reply; (c) deem

 7    withdrawn the T1 Parties’ motion to strike at ECF No. 244; and (d) excuse all affected parties from

 8    filing any response to New U Life’s application to file its original reply under seal (ECF No. 243).

 9            Good cause exists for the Court to enter this stipulation because the parties resolved the T1

10    Parties’ motion to strike. Thus, granting this stipulation will conserve judicial and party resources

11    without prejudicing any of the parties or altering any case deadlines. Specifically:

12            1.      On June 15, 2022, New U Life filed its original reply in support of its motion to

13    appoint a receiver, or in the alternative, for a preliminary injunction. (ECF No. 242.) New U Life’s

14    original reply filed at ECF No. 242 exceeded the page limits set forth by LR 7-3(b).

15            2.      The T1 Parties then filed a motion to strike the reply and for fee sanctions on June

16    17, 2022. (ECF No. 244.)

17            3.      On June 17, 2022, New U Life filed an errata and a corrected reply that conforms to

18    the page limit of LR 7-3(b). (ECF No. 245.)

19            4.      The parties agree that the corrected reply brief filed at ECF No. 245-2 supersedes the

20    original reply brief.

21            5.      The T1 Parties maintain that the original reply brief filed as ECF No. 242 should be

22    stricken and removed from the public docket because it should never have been filed to begin with

23    for the reasons set forth in the pending motion to strike. New U Life disagrees with the contentions

24    in the T1 Parties’ motion to strike and does not believe the motion should be granted. However,

25    solely to resolve the motion, New U Life does not oppose the Court striking and removing from the

26    public docket the original, now-superseded reply at ECF No. 242. New U Life’s agreement to strike

27    ECF No. 242 does not reflect its agreement with any contentions in the T1 Parties’ motion to strike,

28    and should not be deemed to constitute an admission of any intentional wrongdoing by New U Life



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 1    or be misconstrued as consent to granting the sanctions requested by the T1 Parties.

 2           6.      Once ECF No. 242 is stricken, the T1 Parties agree that their motion to strike, filed

 3    at ECF No. 244, will be moot and the T1 Parties agree to withdraw that motion. By agreeing to

 4    withdraw their motion, the T1 Parties do not agree with any contention in the corrected reply.

 5           7.      New U Life’s reply filed at ECF No. 242 contained information designated

 6    “Confidential” by the T1 Parties and/or counterclaim defendant Payvision B.V. under the parties’

 7    stipulated protective order. Therefore, New U Life filed a redacted public version of the reply and

 8    simultaneously filed an application to seal with a sealed, unredacted version of the reply (ECF No.

 9    243). According to the Court’s order entering the parties’ stipulated protective order (ECF No. 93),

10    the parties designating the information “Confidential” would have to file a declaration in support of

11    keeping this reply under seal within seven days of its filing; i.e., June 22, 2022. The parties further

12    stipulate and agree that all affected parties do not need to file a declaration in support of keeping the

13    redacted portions of ECF No. 242 under seal because ECF No. 242 will be stricken and removed

14    from the docket if this stipulation is granted.

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 1          WHEREFORE, the T1 Parties and New U Life request that the Court:

 2          (a) strike, and remove entirely from the docket, New U Life’s original reply brief filed as

 3              ECF No. 242 (but not any of the attachments filed as ECF No. 242-1 through 242-8);

 4          (b) treat New U Life’s corrected reply brief filed at ECF No. 245-2 as the operative reply;

 5          (b) deem withdrawn the T1 Parties’ motion to strike at ECF No. 244; and

 6          (c) excuse all affected parties from filing any response to New U Life’s application to file its

 7          original reply under seal (ECF No. 243).

 8          Dated this 22nd day of June, 2022.

 9     McDONALD CARANO, LLP                               BROWN BROWN & PREMSRIRUT
10

11
       By:/s/ Aaron D. Shipley                            By: /s/ Brianna Dahlberg
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                                                             Attorneys for New U Life Corporation
18        Attorneys for T1 Payments LLC, T1
          Payments Ltd., TGlobal Services Ltd.,
19        Donald Kasdon, Amber Fairchild, Debra
          King, TGlobal Services LLC
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21    IT IS THEREFORE ORDERED that the parties' stipulation (ECF No. 250) is granted. The
      Clerk of Court is kindly directed to strike ECF No. 242, but not any of its attached exhibits.
22                                                    IT IS SO ORDERED:
      IT IS FURTHER ORDERED that the T1 Parties' motion to strike (ECF No. 244) is denied as
                                            ______________________________________
23
      moot.                                 ANNE R. TRAUM
24                                        UNITED STATES DISTRICT JUDGE
      IT IS FURTHER ORDERED that New U Life's motion to seal (ECF No. 243) is granted.
25                                        DATED: ________________________
26
                                                     ________________________________________
27                                                   DANIEL J. ALBREGTS
                                                     UNITED STATES MAGISTRATE JUDGE
28
                                                     DATED: June 23, 2022

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 1
                                      CERTIFICATE OF SERVICE
 2
             I certify that I am an employee of McDonald Carano LLP, and that on the 22nd day of
 3
      June, 2022, a true and correct copy of the foregoing THE T1 PARTIES AND NEW U LIFE
 4
      CORP.’S JOINT STIPULATION TO STRIKE ECF NO. 242 AND WITHDRAW ECF NO.
 5
      244 was electronically filed with the Clerk of the Court by using CM/ECF service which will
 6
      provide copies to all counsel of record registered to receive CM/ECF notification.
 7

 8                                         /s/ Leah Jennings
                                           An employee of McDonald Carano LLP
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